     Case 18-27081-JKS         Doc 61    Filed 07/10/20 Entered 07/10/20 14:16:23                Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Chapter 13 Standing Trustee                                              Order Filed on July 10, 2020
30 TWO BRIDGES ROAD                                                      by Clerk
SUITE 330                                                                U.S. Bankruptcy Court
FAIRFIELD, NJ 07004-1550                                                 District of New Jersey

973-227-2840

                                                           Case No.: 18-27081 JKS
IN RE:
  PEARL JOHNSON                                            Hearing Date: 7/9/2020

                                                           Judge: JOHN K. SHERWOOD


                                                           Debtor is Entitled To Discharge

                    ORDER MODIFYING CHAPTER 13 PLAN POST CONFIRMATION

  The relief set forth on the following pages, numbered 2 through 2 is hereby ORDERED.




       DATED: July 10, 2020
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 Debtor(s): PEARL JOHNSON                       Document Page 2 of 2

 Case No.: 18-27081 JKS
 Caption of Order:      ORDER MODIFYING CHAPTER 13 PLAN POST CONFIRMATION

        The Plan of the Debtor having been proposed to creditors, and hearing having been held on the Confirmation
of such Plan, and it appearing that the applicable provisions of the Bankruptcy Code have been complied with ; and for
good cause shown, it is
    ORDERED, that the plan of the above named Debtor dated 6/11/2020, or as amended at the confirmation hearing
    is hereby confirmed. The Standing Trustee shall make payments in accordance with 11 U.S.C. § 1326 with funds
    received from the Debtor; and it is further
    ORDERED, that to the extent that the Debtor’s plan contains motions to avoid judicial liens under 11 U .S.C.
    Section 522(f) and/or to avoid liens and reclassify claims in whole or in part, such motions are hereby granted,
    except as specified herein:
    ORDERED, that commencing 9/1/2018, the Debtor shall pay the Standing Trustee
        the sum of $16,275.00 paid into date over 21 month(s), and then
        the sum of $775.00 for a period of 21 month(s), which payments shall include commission and expenses of
        the Standing Trustee in accordance with 28 U.S.C. § 586; and it is further
    ORDERED, that notwithstanding the preceding paragraph, in no event shall the unsecured creditors receive less
    than 100% of their timely filed claims; and it is further
    ORDERED, that should the Debtor fail to make plan payments for a period of more than 30 days, the Standing
    Trustee may file with the Court and serve upon the Debtor and Debtor's Counsel, a Certification of Non-receipt
    of Payment and request that the Debtors case be dismissed. The Debtor shall have fourteen (14) days from the
    date of the filing of the Certification to file with the Court and serve upon the Trustee a written objection to such
    Certification; and it is further
    ORDERED, that upon completion of the plan, affected secured creditors shall take all steps necessary to remove
    of record any lien or portion of any discharged; and it is further

     ORDERED, that upon expiration of the Deadline to File a Proof of Claim, the Chapter 13 Standing Trustee may
     submit an Amended Order Confirming Plan upon notice to the Debtor, Debtor's attorney and any other party
     filing a Notice of Appearance.
